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Stephen F. Brennwald JD
922 Pennsylvania Avenue SE
Washington, DC 20003


                                       September 26, 2021



To Whom It May Concern,

       Along with my former husband retired New York State Supreme Court Justice Robert E.
Whelan, it was our honor and privilege to watch Thomas Sibick grow up to become a fine young
man. Attending his graduation from esteemed colleges first for an undergraduate degree and
then for a graduate degree, I felt confident that this intelligent, kind man would proceed in life to
make the world a better place to be.

        That he did while working as a financial officer at a senior care facility he regaled us with
stories of compassion while interacting with residents of that facility.

        It is with confidence that I write this affirmation for Thomas Sibick the oldest son of a
doctor and teacher, pillars of the community, who raised Thomas with their standards of highest
religious beliefs and patriotism.



                                      Mary Louise Mancuso
                                      Retired Teacher Lockport City Schools
                                      Lockport, NY 14094
                               (Address and Phone Number deleted by defense counsel)
